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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

United States of America
ex rel. ALEX DOE, Relator,

The State of Texas
ex rel. ALEX DOE, Relator,
                                             Civil Action No. 2:21-CV-00022-Z
The State of Louisiana
ex rel. ALEX DOE, Relator

       Plaintiffs,
v.
Planned Parenthood Federation of America,
Inc., Planned Parenthood Gulf Coast, Inc.,
Planned Parenthood of Greater Texas, Inc.,
Planned Parenthood South Texas, Inc.,
Planned Parenthood Cameron County, Inc.,
Planned Parenthood San Antonio, Inc.,
        Defendants.




                STATEMENT OF INTEREST OF THE UNITED STATES
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       The United States of America, as the real party in interest with respect to the federal

claims at issue in this False Claims Act (“FCA”) action, submits this Statement of Interest

pursuant to 28 U.S.C. § 517. 1 After investigating relator’s claim, the United States elected not to

intervene to pursue the federal claims asserted by the relator. But because the relator has asserted

claims on behalf of the United States for harms purportedly suffered by the government, the

United States remains the real party in interest in this matter even where, as here, it has declined

to intervene in the action. United States ex rel. Eisenstein v. City of N.Y., 556 U.S. 928, 934

(2009); Searcy v. Philips Electronics N. Am. Corp., 117 F.3d 154, 156 (5th Cir. 1997). The

United States has a strong interest in the proper operation of the Medicaid program—which

provides health care coverage to more than eighty-four million low-income people who

otherwise would likely be unable to afford health care services—and in ensuring that States

administer their federally subsidized Medicaid programs in a manner that is consistent with the

Medicaid statute.

       Many of the arguments in this case turn on questions of fact or questions of state law.

This Statement of Interest does not address those issues. Rather, the United States respectfully

submits this Statement of Interest to advise the Court of its views regarding the free choice of

provider requirement in the Medicaid Act, which is relevant to the validity of the terminations

from the Texas Medicaid program that underlie the claims against the Affiliate Defendants. 2




1
  28 U.S.C. § 517 allows “any officer of the Department of Justice . . . to attend to the interests of
the United States in a suit pending in a court of the United States.”
2
  Planned Parenthood Gulf Coast (“PPGC”), Planned Parenthood of Greater Texas, Inc.
(“PPGT”), Planned Parenthood of South Texas, Inc. (“PPST”), Planned Parenthood Cameron
County, Inc. (“PPCC”), and Planned Parenthood San Antonio, Inc. (“PPSA”).
                                                  1
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         As part of their multi-pronged defense of this action, the Affiliate Defendants have

argued that the lawfulness of their termination from the Texas Medicaid program is relevant to

their potential FCA liability, including because it bears on whether plaintiffs can satisfy the

FCA’s scienter requirement. See, e.g., Mem. in Support of Affiliate Defendants’ Motion for

Summary Judgment, Dkt. 382, at 14, 21, 26, 48 n.26, 57, 62; Mem. in Opposition to Texas’s

Motion for Summary Judgment and Relator’s Motion for Partial Summary Judgment, Dkt. 417,

at 42-43, 48-49. 3 The United States respectfully advises the Court of its view regarding Texas’s

termination of the Affiliate Defendants from the Texas Medicaid program in conjunction with

the Medicaid statute’s “free choice of provider” provision, 42 U.S.C. § 1396a(a)(23).

         A.     Background on Medicaid

         The Medicaid program, established under Title XIX of the Social Security Act, 42 U.S.C.

§ 1396 et seq., is a cooperative program through which the federal government provides financial

assistance to States so that they may furnish medical care to low-income individuals. “The

Federal Government shares the costs of Medicaid with States that elect to participate in the

program.” Atkins v. Rivera, 477 U.S. 154, 156-57 (1986). “In return, participating States are to

comply with requirements imposed by the Act and by the Secretary of Health and Human

Services.” Id. at 157.




3
  As this court is aware, the Supreme Court granted certiorari in United States ex rel. Proctor v.
Safeway, Inc., No. 22-111, 2023 WL 178393 (U.S. Jan. 13, 2023) and U.S. ex rel. Schutte, et al.
v. Supervalu Inc., No. 21-1326, 2023 WL 178398 (U.S. Jan. 13, 2023), to address whether a
person can establish that he did not act “knowingly” by showing that his conduct was consistent
with an incorrect but objectively reasonable interpretation of legal requirements. The United
States argued in a brief filed at the petition stage that a person who subjectively believed or had
strong reason to believe that he submitted a claim or statement that was false “cannot escape
liability by identifying wrong-but-reasonable justifications after the fact.” See Brief of the United
States as Amicus Curiae, SuperValu, Inc., No. 21-1326, at 12.
                                                  2
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       To be eligible for federal funds, a participating State must develop a plan for medical

assistance that demonstrates compliance with the requirements of the Medicaid statute and

regulations. See 42 U.S.C. § 1396a. If the Department of Health and Human Services (“HHS”)

approves the State plan, the federal government reimburses the State for a percentage of its

qualified Medicaid expenditures (this percentage is often referred to as the federal matching

rate). See 42 U.S.C. §§ 1396b(a), 1396d(b). The federal matching rate for most Medicaid

services varies depending on a State’s per capita income, but federal funds pay at least 50% of

the cost of providing medical assistance to Medicaid beneficiaries. See 42 U.S.C. § 1396d(b).

The federal matching rate may be even higher for particular services. For example, the federal

government matches state expenditures on family planning services (such as contraception) at

90%, meaning that the State pays only 10% of the cost of such services. See 42 U.S.C.

§ 1396b(a)(5). 4

       Although State participation in the Medicaid program is voluntary, “once a State elects to

join the program, it must administer a State plan that meets federal requirements.” Frew ex rel.

Frew v. Hawkins, 540 U.S. 431, 433 (2004). Among other requirements, the State plan “must”

provide that beneficiaries have the freedom to receive services from a qualified and willing

provider of their choice. 42 U.S.C. § 1396a(a)(23); see also 42 C.F.R. § 431.51(b)(1). The “free

choice of provider” provision establishes additional protections for beneficiaries of family

planning services (services which, as noted above, are funded almost entirely by the federal




4
 This case does not involve billing for abortion services, which are not considered family
planning services under the Medicaid statute. The federal Hyde Amendment prohibits the use of
Medicaid funding for abortions except where the pregnancy results from rape or incest or the life
of the pregnant woman would be endangered if the fetus were carried to term. See Harris v.
McRae, 448 U.S. 297, 302 (1980).


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government rather than the States). Even in the context of managed care, where a State otherwise

may place certain limits on a Medicaid beneficiary’s free choice of providers, a State may not

limit a beneficiary’s free choice of providers of family planning services. See 42 U.S.C.

§ 1396a(a)(23)(B) (cross-referencing § 1396d(a)(4)(C)). 5

       The Medicaid statute also contains enforcement mechanisms to ensure States comply

with federal requirements. HHS, through the Centers for Medicare & Medicaid Services

(“CMS”), reviews a State’s plan, including any plan amendments, and determines whether the

State plan complies with statutory and regulatory requirements. See 42 U.S.C. § 1316(a)(1), (b).

If the Secretary finds “that the plan has been so changed that it no longer complies” with

§ 1396a, or “that in the administration of the plan there is a failure to comply substantially with

any such provision,” the Secretary may initiate an enforcement action and “shall make no further

payments to such State (or shall limit payments to categories under or parts of the State plan not

affected by such failure).” 42 U.S.C. § 1396c; 42 C.F.R. § 430.35.



5
 The provision provides in full that a
       State plan for medical assistance must … provide that (A) any individual eligible for
       medical assistance (including drugs) may obtain such assistance from any institution,
       agency, community pharmacy, or person, qualified to perform the service or services
       required (including an organization which provides such services, or arranges for their
       availability, on a prepayment basis), who undertakes to provide him such services, and (B)
       an enrollment of an individual eligible for medical assistance in a primary care case-
       management system (described in section 1396n(b)(1) of this title), a medicaid managed
       care organization, or a similar entity shall not restrict the choice of the qualified person
       from whom the individual may receive services under section 1396d(a)(4)(C) of this title,
       except as provided in subsection (g), in section 1396n of this title, and in section 1396u–
       2(a) of this title, except that this paragraph shall not apply in the case of Puerto Rico, the
       Virgin Islands, and Guam, and except that nothing in this paragraph shall be construed as
       requiring a State to provide medical assistance for such services furnished by a person or
       entity convicted of a felony under Federal or State law for an offense which the State
       agency determines is inconsistent with the best interests of beneficiaries under the State
       plan or by a provider or supplier to which a moratorium under subsection (kk)(4) is applied
       during the period of such moratorium.
42 U.S.C. § 1396a(a)(23).
                                                  4
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         B.     Termination of a Qualified Provider Violates the Free Choice of Provider
                Requirement.

         Under the Medicaid statute, a beneficiary may obtain medical assistance from any entity

or person who is “qualified to perform the service or services required” and “who undertakes to

provide him such services.” 42 U.S.C. § 1396a(a)(23)(A); see also 42 C.F.R. § 431.51(b)(1).

This free choice of provider requirement gives Medicaid beneficiaries “the right to choose

among a range of qualified providers, without government interference.” O’Bannon v. Town

Court Nursing Ctr., 447 U.S. 773,785 (1980) (emphasis omitted).

         A state does not have unfettered discretion to determine Medicaid provider qualifications.

If states were permitted to define “qualified” in any manner they chose, it would effectively

nullify the statutory free choice of provider provision. Rather, CMS has recognized a narrow

exception to freedom of choice that permits a state to establish “reasonable standards relating to

the qualifications of providers.” 42 C.F.R. § 431.51(c)(2); see also CMS, State Medicaid Manual

§ 2100 (states may “impos[e] reasonable and objective qualification standards” for providers).

         Longstanding Medicaid policy provides that these qualifications must relate to the health

care provider’s ability to provide the services or appropriately bill for them. See Declaration of

Anne Marie Costello, Dkt. 383 at 325-27 (“Costello Decl.”), at ¶ 7 (“[A]ny actions taken by a

state to terminate a provider’s participation as a Medicaid provider or otherwise limit the

provider’s ability to furnish services to beneficiaries must relate to the fitness of a provider to

safely perform covered services or to properly bill for those services.”). 6 In 2011, CMS sent an

Informational Bulletin to State Medicaid Directors reminding them that states “are not . . .



6
 The Plaintiffs have argued that because Ms. Costello was not timely disclosed as a witness
under Rule 26, her declarations are not admissible for purposes of the court’s consideration of
the parties’ summary judgment motions. See Plaintiffs’ Response to Defendants’ Motions for
Summary Judgment, Dkt. 415, at 34. The United States takes no position on this issue.
                                                   5
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permitted to exclude providers from the program solely on the basis of the range of medical

services they provide.” CMCS Informational Bulletin (June 1, 2011). Subsequently, in the family

planning context, in 2012, HHS affirmed the 2011 disapproval of an Indiana State plan

amendment that would have prohibited the state Medicaid agency from entering into a contract

or grant with providers that perform abortions or operate facilities where abortions are

performed, except for hospitals or ambulatory surgical centers. CMS, Decision of the

Administrator Disapproving the Indiana State Plan Amendment 11-011 (2012).

       One means by which states may implement “reasonable standards relating to the

qualifications of providers” as permitted under 42 C.F.R. § 431.51(c)(2) is via State authority to

license practitioners that operate within its jurisdiction. The Medicaid statute authorizes a State

to exclude or terminate an individual or entity from Medicaid for any reason for which the

Secretary could exclude the individual or entity from the Medicare program. 42 U.S.C.

§ 1396a(p)(1), (3) (cross-referencing 42 U.S.C. §§ 1320a-7, 1320a-7a, 1395cc(b)(2)). These

enumerated grounds for exclusion include conviction of specified criminal offenses or a

determination that the provider furnished items or services of a quality that failed to meet

professionally recognized standards of healthcare. Each enumerated ground for exclusion is

consistent with CMS’s longstanding interpretation of the free choice of provider requirement as

limiting State authority to terminate provider participation to only those circumstances

implicating the fitness of the provider to perform covered medical services or appropriately bill

for them.

       The Fifth Circuit’s 2020 en banc decision vacating the injunction in Texas did not

address what it means for a provider to be qualified or whether the terminations at issue were

lawful. See Planned Parenthood of Greater Tex. v. Kauffman, 981 F.3d 347, 353 (5th Cir. 2020)



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(en banc) (“Because the district court did not consider the Providers’ claims, no aspect of those

claims is before us in this interlocutory appeal.”). 7 Federal circuit courts outside the Fifth Circuit,

however, have consistently agreed with CMS’s interpretation of the free choice of provider

requirement. The Seventh Circuit concluded that, “[r]ead in context, the term ‘qualified’ as used

in § 1396a(a)(23) unambiguously relates to a provider’s fitness to perform the medical services

the patient requires.” Planned Parenthood of Ind., Inc. v. Comm’r of the Ind. State Dep’t of

Health, 699 F.3d 962, 978 (7th Cir. 2012). It reasoned that “[t]o be ‘qualified’ in the relevant

sense is to be capable of performing the needed medical services in a professionally competent,

safe, legal, and ethical manner. Id. The Ninth Circuit adopted the same reasoning. See Planned

Parenthood Ariz., Inc. v. Betlach, 727 F.3d 960, 969 (9th Cir. 2013) (“We agree with the Seventh

Circuit that ‘[r]ead in context, the term “‘qualified’” as used in § 1396a(a)(23) unambiguously

relates to a provider’s . . . capab[ility] of performing the needed medical services in a

professionally competent, safe, legal, and ethical manner.’”) (quoting Planned Parenthood of

Ind., 699 F.3d at 978). Subsequent courts have agreed with the Seventh and Ninth Circuits. See

Planned Parenthood of Kan. v. Andersen, 882 F.3d 1205, 1225 (10th Cir. 2018) (“States may not

terminate providers from their Medicaid program for any reason they see fit, especially when

that reason is unrelated to the provider’s competence and the quality of the healthcare it

provides”); Planned Parenthood S. Atl. v. Baker, 941 F.3d 687, 697 (4th Cir. 2019) (“[T]he term

[qualified] is ‘tethered to an objective benchmark: qualified to perform the service or services

required.’”) (quoting Betlach, 727 F.3d at 967-68).



7
 In her concurring opinion, Judge Elrod concluded that Texas did not act arbitrarily or
capriciously in finding that under Texas law PPGC and its affiliates were not “qualified.” See
Kauffman, 981 F.3d at 379 (Elrod, J., concurring). By contrast, in his dissenting opinion, Judge
Dennis concluded, consistent with the district court’s findings, that Texas lacked prima facie
evidence that the providers were not qualified. See id. at 404 (Dennis, J., dissenting).
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         Here, after learning of the actions taken by the Texas and Louisiana Medicaid programs

to terminate the enrollment of the Planned Parenthood defendants, CMS wrote to those programs

on August 11, 2016, advising that it was unaware of any basis for the termination of the

defendants that would be consistent with the free choice of provider requirement. See Costello

Decl. ¶ 11; see also Letter from Director of the Center for Medicaid & CHIP Services Vikki

Wachino to Gary Jessee (Aug. 11, 2016) (Dkt. 383 at 181-183); Letter from Vikki Wachino to

Jen Steele (Aug. 11, 2016) (Dkt. 383 at 184-186). CMS has since reviewed the response from

Texas to the August 2016 letters, the factual findings in the district court order granting the

preliminary injunction, the discussions of those findings in the opinions from the Fifth Circuit

panel and en banc court regarding the injunction, and the factual allegations in Relator’s

complaint in this case and has been unable to identify Texas’s and Louisiana’s basis for

termination related to the Affiliate Defendants’ abilities to safely furnish covered services and

properly bill for them. See Costello Decl.¶ 12. 8

         C.     Termination of Provider Affiliates Under the Social Security Act.

         Texas based its termination of PPGT, PPST, PPCC, and PPSA solely on their alleged

affiliation with PPGC. Texas relied on state law under which a provider “affiliated with a person

that commits a program violation” is subject to enrollment termination based upon that

affiliation. 1 Tex. Admin. Code § 371.1703(c)(7); see also 1 Tex. Admin Code § 371.1605(a). A

decision to terminate a provider, based upon evidence relating to the conduct of an affiliate rather

than a separate determination regarding the qualification of the terminated provider to furnish or




8
 Notably, neither Texas nor Louisiana has taken action to revoke any of the Planned Parenthood
defendants’ licenses. Accordingly, those providers continue to furnish services to private-pay
patients in both States.
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properly bill for covered services, violates the free choice of provider requirement. Costello

Decl. ¶ 10.

       The Social Security Act, which authorizes the Medicaid program, does not generally treat

affiliated providers as a single entity. Instead, the Social Security Act separately prescribes the

scenarios under which the conduct of one affiliated person or entity may be imputed to another.

See, e.g., 42 U.S.C. § 1320a-7(b)(8) (permitting the Secretary to exclude “[e]ntities controlled by

a sanctioned individual” from federal healthcare programs); 42 U.S.C. § 1320a-7(b)(15)

(permitting exclusion of “[i]ndividuals controlling a sanctioned entity”); see also 42 U.S.C.

§ 1395cc(j)(5) (requiring providers applying to participate in Medicare to disclose “any current

or previous affiliation” with excluded providers or providers with uncollected debt or a payment

suspension and permitting the Secretary to deny an enrollment application of such an affiliated

provider if the Secretary determines that such affiliation “poses an undue risk of fraud, waste, or

abuse”); 42 U.S.C. § 1396a(kk)(3) (mandating that states require Medicaid providers to comply

with the same disclosure provisions applicable to Medicare providers under § 1395cc(j)(5)).

       Federal regulations further confirm that affiliated entities are not generally treated as a

single entity under the Social Security Act. Under 42 U.S.C. § 1396a(a)(39) and implementing

regulations, States are required to terminate the enrollment of any “individual or entity” that has

had its enrollment terminated for cause by another State or by Medicare. Rather than extending

this requirement to affiliates of terminated entities, however, federal regulations have limited it

to situations in which the same entity has been terminated. 42 C.F.R. § 455.416(c). There may be

circumstances under which States or the Secretary may properly ignore corporate separateness,

such as in the case of successor or principal liability, or when a court could pierce the corporate

veil. But in the absence of specific evidence supporting a determination that affiliates are so



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indistinct from each other that allegedly disqualifying conduct of one affiliate must necessarily

be imputed to the others, mere affiliation is not sufficient to override the free choice of provider

requirement.

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      PRINCIPAL DEPUTY ASSISTANT
                                                      ATTORNEY GENERAL

                                                      LEIGHA SIMONTON
                                                      UNITED STATES ATTORNEY

                                                      /s/ Kenneth G. Coffin
                                                      KENNETH COFFIN
                                                      Assistant United States Attorney
                                                      Texas Bar No.
                                                      1100 Commerce Street, Third Floor
                                                      Dallas, Texas 75242
                                                      Telephone: 214-659-8600
                                                      Facsimile: 214-659-8807
                                                      Email: kenneth.coffin@usdoj.gov

                                                      JAMIE A. YAVELBERG
                                                      ANDY MAO
                                                      KIMBERLY I. FRIDAY
                                                      Attorneys, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 261, Ben Franklin Station
                                                      Washington, DC 20044
                                                      Telephone: 202-451-7655
                                                      Facsimile: 202-307-6364
                                                      Email: kimberly.i.friday@usdoj.gov

                                                      Attorneys for the United States of America




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                                       Certificate of Service

       On February 21, 2023, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Kenneth G. Coffin
                                                      Kenneth G. Coffin
                                                      Assistant United States Attorney




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